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Doc 1238-19 Entered 08/13/10 16

Case 09-14814-qwz

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= ee = CENTERLINE FISHED GRADE ELEVATION
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GRAPHIC SCALE gcc
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MORTH O04.3'38" EAST — THE WEST LINE OF THE NORTHWEST QUARTER are Ss
{ IN Feet } (UW 1/4} OF SECTION 62, TOWNSHIP 20 NORTH, RANGE 18 WEST, GILA & aks
timoh = 40 fh w
3 : ARIZONA COORDINATE SYSTEM GF 1983 (AZa3—-MF), WEST ZONE, ce
Eg &: MOHAL FOOT (FT). UT FAST STATIC DESERWANOUS
le rake ql: PROCESSED BY NGS—OPUS a
3:
Fae eae =| W.0.5.0. "SD azt = LATITUDE 35,0@'22.70034"
iH ee 6 a: LONGITUDE 1147921 57 240"w (AO BS)
25EG sae rt Hansa HEIGHT 2562.40391We (HAVD'SE)
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aes | MES STGHE 1/4 COR 3/2 = LATITUDE SStwf'sS.sa3a5 an
5K a3 LONGITUDE 114510830. 7: (uan "83} @
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Ge --8 Sales BENCHMARK yf "SD 347 H.CS.0. 7a
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BSG CENTERLINE. FE -o=> 2 H i Ww
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BEES a.805, ao a INTERSECTION OF SHINARUMP CR. ., STAMPED "SD 34 1995 a
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PLAN FOR BOUNDARY LOCATIONS. £ =
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DISCLAIMER NOTE Ww
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AL GEMTERLIE |:| ar CeMTERUE ONLY. IT SHALL BE THE z a
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SHEET

Overhead PP29

72 GF 7a SHEETS
Sci PROJECT#

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NOT FOR CONSTRUCTION 04/12/08 S

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